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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
JOSE LOPEZ, )
)
Plaintiff, )
)
y. ) No. 06 € 6252
)
)
CITY OF CHICAGO, et al., )
)
Defendant. ) oe

MEMORANDUM OPINION
SAMUEL DER-YEGHIAYAN, District Judge
This matter is before the court on Plaintiff Jose Lopez’s (“Lopez’’) motion for.
reconsideration. For the reasons stated below, deny Lopez’s motion for

reconsideration.

BACKGROUND
Lopez was arrested by members of the Chicago Police Department and was
charged with murder in September 2002. (Compl. Par. 6-7), Lopez alleges that the
Chicago Police Department and the individual Defendants lacked probable cause to
arrest him and that Defendants fabricated evidence to falsely implicate him in the

murder. (Compl. Par. 7-8). Lopez also alleges that Defendants withheld evidence
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from the Illinois State’s Attorney which would have helped exonerate Lopez.
(Compl. Par. 8). Lopez spent several years in jail awaiting trial and was finally tned
and acquitted of the murder charge in 2005, (Compl. Par. 9).

Lopez filed the instant action on November 15, 2006 and includes in his
complaint claims alleging a violation of 42 U.S.C. § 1983 (“Section 1983”) and
other state law claims. On January 23, 2007, Defendants filed a motion to dismiss
which we granted on May 22, 2007. Lopez filed a motion for reconsideration on

May 31, 2007,

LEGAL STANDARD

Federal Rule of Civil Procedure 59(e) (“Rule 59(e)”) permits parties to file,
within ten days of the entry of a Judgment, a motion to alter or amend the judgment.
Fed. R. Civ. P. 59(e). Rule 59(e) motions do not give a party the opportunity to
rehash old arguments or to present new arguments or evidence “that could and
should have been presented to the district court prior to the judgment.” Maro v.
Shell Oil Co., 91 F.3d 872, 876 (7th Cir. 1996)(citing ZB Credit Corp. v. Resolution
Trust Corp., 49 F.3d 1263, 1267 (7th Gir. 1995)). Rather, for a Rule 59(e) motion,
the movant “must clearly establish either a manifest error of law or fact or must
present newly discovered evidence” in order to be successful. LB Credit Corp., 49
F.3d at 1267 (quoting Federal Deposit ns. Corp. v. Meyer, 781 F.2d 1260, 1268

(7th Cir. 1986)). The decision of whether to grant or deny a motion brought pursuant
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to Rule 59(e) “is entrusted to the sound judgment of the district court... .” Jn re

Prince, 85 F.3d 314, 324 (7th Cir. 1996).

DISCUSSION

In granting Defendants’ motion to dismiss, we relied on the United States
Supreme Court decision in Wallace v. Kato, 127 8.Ct. 1091 (2007). In his
complaint, Lopez did not specify the grounds by which he was asserting his Section
1983 claims. After carefully considering Lopez's complaint, we concluded that
Lopez’s only possible basis for his Section 1983 claim was a violation of his Fourth
Amendment Due Process rights during his false arrest and wrongful imprisonment.
We interpreted Lopez’s Section 1983 claims to be based entirely on his wrongful
arrest without probable cause, and as such, time-barred under Wallace. See id. at
L100 (stating that “the statute of limitations upon a § 1983 claim seeking damages
for a false arrest in violation of the Fourth Amendment, where the arrest is followed
by criminal proceedings, begins to min at the time the claimant becomes detained
pursuant to legal process”). Lopez has subsequently conceded that any claim for
false arrest would be time-barred under a the precedent of Wallace. (Resp. Mot.
Dis. 14).

Lopez argues that he has successfully pled other constitutional torts that serve
as adequate bases for his Section 1983 claims and would render these claims timely.

(Mot. Recon. Par. 2). Specifically, Lopez alludes to the fact that his Section 1983
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claims can be premised on: (1) Defendants’ alleged malicious prosecution, (2)
Defendants” alleged denial of his right to a fair trial; and (3) Defendants’ alleged
conspiracy to deny him of those nghts. Lopez also argues that his state law claims

aré timely, (Mot. Recon. Par. 3).

I. Lopez’s Section 1983 Claims

In order to prevail on a Section 1983 claim, the claimant must allege “(1) that
he was deprived of a right secured by the Constitution or laws of the United States,
and (2) that the deprivation was visited upon [him] by a person or persons acting
under color of state law.” Kramer v. Village of North Fond du Lac, 384 F.3d 856,
861 (7th Cir. 2004). In order to determme whether Lopez has successfully stated a
claim under Section 1983, this court must first “isolate the precise constitutional
violation with which [the defendant] is charged.” Baker v. McCollan, 443 U.S. 137,
140 (1979). Section 1983 “is not itself the source of substantive rights,” but rather
“provides a method for vindicating the federal rights elsewhere conferred.” /d. at

145.

A. Section 1983 Claims Supported by Malicious Prosecution

In Lopez’s reply in support of his motion for reconsideration, he raises for the
first time the argument that his complaint states a federal claim for malicious

prosecution that could serve as the basis for his Section 1983 claims. (Rep. Mot.

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Rec. 2-3). The only reference to malicious prosecution in Lopez’s complaint is his
conclusory statement that “Defendants further caused Plaintiff to be . .. maliciously
prosecuted .. . in violation of plaintiffs [sic] state Jaw rights.” (Compl. Par.
13)(emphasis added). In this case, Lopez went out of his way to assert that his
allegations of malicious prosecution claim are premised on state rights and not
federal nights. Under the current notice pleading standard, a plaintiff must “provide
the defendant with at least minimal notice of the claim.” Kyle, 144 F.3d at 455.
Defendants could not have been on notice that Lopez was asserting a federal claim
for malicious prosecution since Lopez’s complaint specifically stated that his
malicious prosecution claims were based only on his state law rights.

Even if Lopez did correctly plead a federal claim for malicious prosecution,
such an allegation cannot form the basis for a Section 1983 claim under Seventh
Circuit precedent. The Seventh Circuit has found that a constitutional tort for
malicious prosecution does not exist in Illinois, where there is a separate state law
remedy for malicious prosecution. Newsome v. McCabe, 256 F.3d 747, 750-51 (7th
Cir. 2001). This is because the Tlinois malicious prosecution law affords an injured
party an adequate opportunity to obtain compensation. Jd. (interpreting Albright v.
Oliver, 510 U.S. 266, 281-86 (1994)). The Seventh Circuit concluded that a state
tori remedy for malicious prosecution “knocks out any constitutional tort for
malicious prosecution,” /d. at 751. Therefore, Lopez could not plead a Section

1983 claim by alleging malicious prosecution.

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B. Section 1983 Claims Supported By the Right to a Fair Trial

Lopez has also raised the argument that his complaint states a constitutional
violation of his right to a fair trial. (P. Resp. Mot. Dis. 9-12). The Seventh Circuit
has recognized that the right to Due Process is violated by the suppression of
material evidence favorable to an accused. United States v. Watts, 29 F.3d 287, 289
(7th Cir. 1994)(citing Brady v. Maryland, 373 U.S, 83, 87 (1963)). Unlike malicious
prosecution claims, the Seventh Circuit has recognized the violation of Brady nghts
as a constitutional tort that would support a Section 1983 action. Newsome, 256
F.3d at 752 (stating that “a claim along [Brady] lines states a genuine constitutional

tort”).

1. Lopez’s Pleadings

The language in Lopez’s complaint does not raise the issue of the denial of his
right to a fair trial. Although Lopez has not specified which language in his
complaint might form the basis for a Brady claim, the only language upon which he
might possibly rely 1s Paragraph 8 (“Paragraph 8”) of the Complaint in which Lopez
states: “In the course of their investigation, the Defendant officers fabricated
evidence which falsely implicated Plamtiff in the murder, and withheld from the
Staie’s Attorney and from Plaintiff evidence which would have helped exonerate
him, all in violation of Plaintiffs constitutional rights.” (Compl, Par. 8), These

conclusory statements cannot form the basis for a Brady claim. According to the

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Seventh Circuit, a plaintiff cannot satisfy federal pleading requirements merely “by
attaching bare legal conclusions to narrated facts which fail to outline the bases of
[his] claims.” Perkins, 939 F.2d at 466-67. Lopez’s complaint states nothing more
than bare legal conclusions.

Furthermore, from the plain language of Paragraph 8, it is clear that these
facts go towards a Fourth Amendment claim for imprisonment without probable
cause and not towards a Brady fair trial claim. Lopez states that the alleged
wrongful acts and omissions of Defendants occurred “in the course of their
Investigation.” (Compl. Par. 8). Lopez has not stated that Defendants’ alleged
withholding acts continued beyond Lopez’s initial detention. In his entire
complaint, Lopez makes no mention of any alleged illegal acts by Defendants during
his trial, save for his one conclusory state law claim that he was “maliciously
prosecuted.” (Compl. Par. 13). Based upon the language in Lopez’s complaint,
even his state law claim of malicious prosecution relates to the alleged acts of the
Defendants in bringing charges against Lopez. Based on the foregoing, we find that

Lopez has not alleged facts of a federal violation of his rights to a fair trial.

2. Materiality Requirement

Even if Lopez had alleged facts of a federal violation of his right to a fair trial
sufficient to satisfy the notice pleading standard, Lopez could not support a Brady

claim because he cannot possibly show that he was prejudiced by Defendants’

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alleged acts. The issue of whether a criminal defendant can bring a Brady claim for
denial of a right to a fair trial, even if that trial ultimately concluded in the criminal
defendant’s favor, is an issue that is unsettled in this district. See Gregory v. Oliver,
226 F.Supp.2d 943, 953 (ND. Ill. 2002)(stating that when a defendant is acquitted
there can be no reasonable probability that the result of the proceeding would have
been different); see also Carroccia v. Anderson, 249 F.Supp.2d 1016, 1023-24 (ND.
Ul. 2003); Kidd v. City of Chicago, 2003 WL 22243938, at *1-*2 (N.D. Ill. 2003);
Gomez v, Riccio, 2005 WL 2978955, at *6-*7 (ND. Til. 2003); Craig v. Chicago
Police Officers, 2005 WL 1564982, at *4-*5 (ND, Ill. 2005). We find that a
criminal defendant who is acquitted could not have suffered any prejudice as is
required under Brady.

At the outset, we note that Brady protects the right to a fair trial. There are
three components to a Brady violation: “The evidence at issue must be favorable to
the accused, either because it is exculpatory, or because it 1s impeaching; that
evidence must have been suppressed by the [government], either willfully or
inadvertently; and prejudice must have ensued.” United States v. Baker, 453 F.3d
419, 422 (7th Cir. 2006)(quoting Strickler v. Green, 527 U.S. 263, 281-82 (1989)).
The Seventh Circuit found that in order for there to be prejudice, the evidence
withheld must have been material. See United States v. Wilson, 481 F.3d 475, 480
(7th Cir. 2007)(stating that a Brady violation requires “materiality” of the evidence

withheld, which “in the Brady context is the same thing as prejudice’), Defendants

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argue that because Lopez was actually acquitted in the trial against him, the
information withheld could not have been material and that Lopez could not have
been prejudiced. (Mot. Dis. 4-5). We agree.

According to the Seventh Circuit the appropriate materiality standard under
Brady is the “reasonable probability” standard which states that withheld
information 1s only material if there was a “reasonable probability” that “the result of
the proceeding would have been different” if the evidence had been disclosed.
United States v. Jackson, 780 F.2d 1305, 1309-10 (7th Gr. 1986)(emphasis added).
A plain reading of this standard demonstrates that there is no possible way that a
criminal defendant who has been acquitted can satisfy the materiality requirement
for a Brady claim. Jd. Lopez points out that some courts in this district have
reached the opposite conclusion, (Resp. Mot. Dis. 10-12). The courts in this district
that have found otherwise have stated that plaintiffs do suffer prejudice if they are
required to defend unfounded allegations against them or have to suffer under the
stigma of an unfounded trial. See e.g., Craig, 2005 WL 1564982, at *4-*5. Other
courts have made the policy argument that precluding acquitted defendants from
bringing &rady claims would frustrate deterrence efforts against prosecutorial
misconduct. See e.g., Gomez, 2005 WL 2978955, at *7. However, the Seventh
Circuit has made it abundantly clear that prejudice must ensue from the result of the
proceeding for the materiality requirement to be satisfied. Jackson, 780 F.2d at

1309-10 (emphasis added). A defendant who is acquitted on all counts cannot

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possibly make the argument that the result of the proceedings would have been more
favorable if information had not been withheld. In terms of the result of a criminal
proceeding, there 1s no more favorable outcome for a criminal] defendant than an
outright acquittal. Therefore, under the plain standard of the Seventh Circuit, a
defendant who has been acquitted cannot satisfy the materiality requirement of the
Brady test. In this case, Lopez was acquitted of the charges against him, Asa
result, he could not possibly state a claim under Section 1983, using the denial of his

right to a fair trial as a basis.

C. Federal Conspiracy claims

To establish a federal conspiracy claim, a plaintiff must demonstrate that the
defendants reached an agreement to deprive him of his constitutional rights. Tierney
v. Vahle, 304 F.3d 734, 739-41 (7th Cir. 2002); Fries v. Helsper, 146 F.3d 452, 457
(7th Cir. 1998), Also, as Lopez has acknowledged, a federal conspiracy claim can
only stand if a plaintiff has also successfully pled substantive constitutional
violations. (Resp. Mot. Dis. 13); Mill vy. Shobe, 93 F.3d 418, 422 (7th Cir. 1996). As
stated above, Lopez has not successfully pled any substantive violations of his

constitutional rights. Therefore, Lopez’s federal conspiracy claims likewise fail.

Il. Lopez's Monell Claim

Lopez also argues that he raised a claim pursuant to Monell v. New York Dept.

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of Social Servs., 436 U.S. 658 (1978), in an effort to hold Defendant City of Chicago
liable for the actions of the individual Defendants. The doctrine of respondeat
superior cannot be utilized to hold local governrrent units liable for Section 1983
violations. /d. at 691, A municipal government unit cannot be held liable under
Section 1983 “unless the deprivation of constitutional rights is caused by a municipal
policy or custom.” Kujawski v. Board of Comm'rs. of Bartholomew County,
Indiana, 183 F.3d 734, 737 (7th Cir. 1999), A local governmental unit’s
unconstitutional policy, practice or custom can be: “(1) an express policy that causes
a constitutional deprivation when enforced; (2) a widespread practice, that, although
unauthorized, is so permanent and well-settled that it constitutes a ‘custom or usage’
with the force of law; or (3) an allegation that a person with final policy making
authority caused the injury.” Chortek v. City of Milwaukee, 356 F.3d 740, 748 (7th
Cir, 2004),

In the instant action, Lopez makes a vague claim that the City of Chicago’s
policies and practices were the “moving force” behind his constitutional violations.
(Compl, Par. 12). Lopez provides no explanation as to what he means by the phrase
“moving force” and has provided no further allegations regarding the City of
Chicago’s involvement in his claims. We find that Lopez’s one-sentence, boilerplate
allegation is not enough to “plausibly suggest that [he] has a right to relief. . . .”
EB.O.C, vy. Concentra Health Servs., Inc. 496 F.3d 773, 776 (7th Cir, 2007).

Accordingly, we find that Lopez’s claims against Defendant City of Chicago based

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on Monell were properly dismissed.

Ill. Lopez’s State Law Claims

In his motion to reconsider, Lopez argues that his state law claims are timely.
Under 28 U.S.C. § 1367(a)(3), a district court has the discretion to decline to
exercise supplemental jurisdiction over state law claims where the court has
dismissed all federal claims over which it had original jurisdiction. See Williams
Electronics Games, Inc. v. Garrity, 479 F.3d 904, 906-07 (7th Gir. 2007)(Undicating
that there is no automatic presumption that a court will decline to exercise
supplemental jurisdiction, but that the court should consider certain factors); Wright
y. Associated Ins. Cos., 29 F.3d 1244, 1252 (7th Cir, 1994)(stating that “the general
rule is that, when all federal-law claims are dismissed before trial, the pendent
claims should be left to the state courts”); Timm v. Mead Corp., 32 F.3d 273, 277
(7th Cir. 1994)(indicating that the court should consider “judicial economy,
convenience, fairness, and comity,” and should weigh a number of factors, including
“the nature of the state law claims at issue, their ease of resolution, and the actual,
and avoidable, expenditure ofjudicial resources”). We note that since this case is at
the pleadings stage, substantial federal judicial resources have not been expended on
the resolution of the supplemental state law claim. We have considered all of the
pertinent factors and we decline to exercise supplemental jurisdiction as a matter of

discretion over the remaining state law claim.

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CONCLUSION

Based on the foregoing analysis, we deny Lopez’s motion for reconsideration.

Dated: October 24, 2007

Senna le De. Gohkoy—
Samuel Der-Yeghiayan
United States District Court Judge

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